                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

EDWARD TENNEY, #A-73555,                            )
                                                    )
                        Plaintiff,                  )
                                                    )
        vs.                                         )        Case No. 16-cv-00115-SMY
                                                    )
JOHN BALDWIN,                                       )
RICHARD HARRINGTON,                                 )
KIMBERLY BUTLER,                                    )
JOSEPH YURKOVICH, MRS. HILL,                        )
MENARD CORRECTIONAL CENTER,                         )
IDOC, and UNKNOWN PARTIES,                          )
                                                    )
                        Defendants.                 )


                                 MEMORANDUM AND ORDER

YANDLE, District Judge:

        Plaintiff Edward Tenney, an inmate currently incarcerated at Menard Correctional Center

(“Menard”), brings this pro se civil rights action for deprivations of his constitutional rights

pursuant to 42 U.S.C. § 1983. Plaintiff alleges that his rights were violated during a strip search

and cell shakedown conducted by the Orange Crush Tactical Team at Menard in April 2014.

Plaintiff asserts constitutional, federal and Illinois state law claims.

        On March 11, 2016, the Court stayed this case pursuant to a motion filed by Plaintiff.

(See Doc. 10). On April 27, 2016 and again on May 11, 2016, Plaintiff filed motions requesting

that the stay be lifted. For the reasons given therein, Plaintiff’s motions to lift the stay (Docs. 14

and 15) are GRANTED. The stay in this case shall be lifted and the Court will proceed with its

preliminary review pursuant to 28 U.S.C. § 1915A.

        Under § 1915A, the Court is required to promptly screen prisoner complaints to filter out

nonmeritorious claims. 28 U.S.C. § 1915A(a). The Court is required to dismiss any portion of

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the complaint that is legally frivolous, malicious, fails to state a claim upon which relief may be

granted, or asks for money damages from a defendant who by law is immune from such relief.

28 U.S.C. § 1915A(b).

       An action or claim is frivolous if “it lacks an arguable basis either in law or in fact.”

Neitzke v. Williams, 490 U.S. 319, 325 (1989). An action fails to state a claim upon which relief

can be granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The claim of entitlement to

relief must cross “the line between possibility and plausibility.” Id. at 557. Conversely, a

complaint is plausible on its face “when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                          The Complaint

       On April 12, 2014, Plaintiff’s housing unit at Menard was searched by the Orange Crush

Tactical Team. (Doc. 1, p. 8). Plaintiff was unable to identify specific members of the Orange

Crush Tactical Team because they were wearing ski masks and/or had their faces painted. Id. at

13. In addition, none of the Orange Crush officers was wearing a name badge. Id.

       Plaintiff, along with all of the other inmates on the unit, was ordered to strip naked and

was subjected to a search. Id. The inmates were then ordered to dress, but were not allowed to

put on any undergarments. Plaintiff was ordered to place his hands behind his back in an

awkward position and then handcuffed from behind. Id. He was then pushed into a line of other

inmates who were proceeding down the back stairs to the gym. As the inmates were filing down

the stairs, officers yelled, poked, pushed and hit the inmates, including Plaintiff, in the head. Id.

The officers also pushed the inmates into one another. Id.



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        Once in the gym, Plaintiff and the other inmates were forced to line up along the wall and

stand in the same position for several hours. During this time, members of the Orange Crush

team poked, hit and yelled profanities at them. At one point, Plaintiff was in such excruciating

pain from standing in the same stress position for such a long time that he began to move in line.

When Plaintiff moved, an officer slapped him and pushed his face into the wall while yelling,

“Don’t you fucking move!” Id. at 9.

        Finally, Plaintiff and the other inmates were ordered to return to their cells. While

marching back to their cells, officers again yelled profanities at them and poked them with their

sticks. Id. Upon returning to his cell, Plaintiff discovered that his property had been tossed

about and that several items were either destroyed (i.e., a television and handheld fan) or

missing.   Id.   Plaintiff asserts that his missing property had been purchased at the prison

commissary and, therefore, would not be considered contraband. Id. Moreover, Plaintiff’s

shakedown slip indicated that no contraband had been identified. Id.

        Following the incident, Plaintiff submitted a grievance to Defendant Hill, the grievance

counselor. After receiving no response from her, Plaintiff wrote Defendant Hill a letter inquiring

about the grievance, but he never received a response. Id. at 18.

        Plaintiff maintains that he still has pain in his neck and shoulders as a result of this

incident. Id. at 10. He further contends that Defendants Harrington and Butler (warden and

assistant warden at Menard at the time, respectively) were present during the shakedown and did

nothing to stop it. Id. at 12.

                                           Discussion

        The Court will begin with a preliminary note concerning the handling of Orange Crush

cases in the Southern District of Illinois. Plaintiff’s Complaint raises allegations similar to the



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pleading in Ross v. Gossett, Case No. 15-cv-309-SMY-SCW, which was filed in this Court on

March 19, 2015. The plaintiff in Ross is seeking injunctive relief and damages on behalf of

himself and a class of prisoners who were subjected to similar strip searches while incarcerated

at Illinois prisons during 2014. Should the Ross class be certified, Plaintiff could potentially be a

member of that class. Due to the similarities between the two cases and the need to consolidate

judicial resources, Plaintiff’s case was transferred to the undersigned judge.

       With the above in mind, the Court turns now to Plaintiff’s Complaint. To facilitate the

orderly management of future proceedings in this case, and in accordance with the objectives of

Federal Rules of Civil Procedure 8(e) and 10(b), the Court finds it appropriate to organize the

claims in Plaintiff’s pro se complaint, as shown below. The parties and the Court will use these

designations in all future pleadings and orders, unless otherwise directed by a judicial officer of

this Court. The designation of these counts does not constitute an opinion as to their merit.

       COUNT 1:        Eighth Amendment claim against all Defendants for inflicting
                       unnecessary physical and emotional pain and suffering upon Plaintiff
                       during the strip search, shakedown, and related actions

       COUNT 2:        Conspiracy under 42 U.S.C. § 1983, in that Defendants agreed to
                       deprive Plaintiff of his constitutional rights and protect one another
                       from liability

       COUNT 3:        Eighth Amendment claim for failure to intervene to prevent the
                       violation of Plaintiff’s constitutional rights

       COUNT 4:        Violation of the Prison Rape Elimination Act, 42 U.S.C. § 15607

       COUNT 5:        Intentional infliction of emotional distress under Illinois state law

       COUNT 6:        Claim against Defendant Hill for failing to respond to Plaintiff’s
                       grievances regarding the strip search, shakedown, and related actions

                   Claims Passing Threshold Review: Counts 1, 2, 3, and 5




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        Counts 1 through 5 raise the same claims as Counts 1 through 5 in Ross. Given the

similarity between Plaintiff’s claims and the claims in Ross and the fact that a motion to dismiss

was denied in Ross (as to Counts 1, 2, 3, and 5) (see Ross v. Gossett, Case No. 15-cv-309-SMY-

SCW, Doc. 76), the Court is of the opinion that Counts 1, 2, 3, and 5 cannot not be dismissed in

this case at this time.

                           Claims Subject to Dismissal: Counts 4 and 6

        In the same order in Ross in which the Court denied the Defendants’ motion to dismiss as

to Counts 1, 2, 3, and 5, the Court granted Defendants’ motion to dismiss as to Count 4, the

Prison Rape Elimination Act (“PREA”) claim. (See Ross v. Gossett, Case No. 15-cv-309-SMY-

SCW, Doc. 76). In that Order, the Court noted:

        While the PREA was intended in part to “increase the accountability of prison
        officials” and to “protect the Eighth Amendment rights of Federal, State, and local
        prisoners” (42 U.S.C. §15602), nothing in the language of the statute establishes a
        private right of action. In fact, the section of the statute addressing prevention and
        prosecution is directed toward the National Institute of Corrections which is
        appropriated funds for establishing an informational clearinghouse, conducting
        training and compiling annual reports for Congress regarding the activities of the
        Department of Justice regarding prison rape abatement. 42 U.S.C.A. § 15604. The
        statute otherwise establishes findings of facts, sets forth statistics, recites research,
        adopts standards and provides for grant money.

        Further, no court that has considered the issue has found that a private right of
        action exists under the statute. Amaker v. Fischer, 2014 WL 4772202, at *14
        (W.D.N.Y. Sept. 24, 2014). See Also Krieg v. Steele, 599 F. App'x 231, 232 (5th
        Cir.2015) (citing cases); Collen v. Yamaoka, No. CIV. 14-00577 SOM, 2015 WL
        793085, at *3 (D. Haw. Feb. 25, 2015) (citing cases); Porter v. Jennings, 2012
        WL 1434986, at *1 (E.D.Cal. Apr. 25, 2012) (citing cases).

Id. at 8. Adopting that same reasoning here, the Court finds that the PREA does not create a

private cause of action. As such, Count 4 in this case, which is identical to Count 4 in the Ross

case, shall be dismissed with prejudice.




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       Plaintiff raises an additional claim, Count 6, which was not raised in the Ross complaint.

Under Count 6, Plaintiff asserts a claim against Defendant Hill, a grievance counselor, for failing

to respond to his grievances regarding the strip search and shakedown.

       Courts have consistently held that prison grievance procedures are not constitutionally

mandated and thus the alleged mishandling of grievances “by persons who otherwise did not

cause or participate in the underlying conduct” cannot be a basis for liability under § 1983.

Owens v. Hinsley, 635 F.3d 950, 953 (7th Cir. 2011). See also Grieveson v. Anderson, 538 F.3d

763, 772 n.3 (7th Cir. 2008); George v. Smith, 507 F.3d 605, 609 (7th Cir. 2007); Antonelli v.

Sheahan, 81 F.3d 1422, 1430 (7th Cir. 1996). In order to be held individually liable, a defendant

must be “personally responsible for the deprivation of a constitutional right.”        Sanville v.

McCaughtry, 266 F.3d 724, 740 (7th Cir. 2001) (quoting Chavez v. Ill. State Police, 251 F.3d

612, 651 (7th Cir. 2001)). See also Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978).

       Here, Plaintiff does not allege that Defendant Hill was involved in any way in the alleged

unconstitutional strip search and shakedown.       Thus, the Court shall dismiss Count 6 with

prejudice. Since this is the only count asserted against Defendant Hill, she shall be dismissed

without prejudice from this action.

                          Additional Defendants Subject to Dismissal

       In the caption, Plaintiff has listed John Baldwin, director of the Illinois Department of

Corrections, as a defendant. However, he makes no mention of him anywhere else in the

Complaint. Merely invoking the name of a potential defendant is not sufficient to state a claim

against that individual. See Collins v. Kibort, 143 F.3d 331, 334 (7th Cir. 1998) (“A plaintiff

cannot state a claim against a defendant by including the defendant’s name in the caption.”).

Furthermore, Defendant Baldwin cannot be held liable for the alleged violation of Plaintiff’s



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constitutional rights merely because he is the director of the Illinois Department of Corrections.

“The doctrine of respondeat superior does not apply to § 1983 actions; thus to be held

individually liable, a defendant must be ‘personally responsible for the deprivation of a

constitutional right.’” Sanville v. McCaughtry, 266 F.3d 724, 740 (7th Cir. 2001) (quoting

Chavez v. Ill. State Police, 251 F.3d 612, 651 (7th Cir. 2001)). See also Monell v. Dep’t of Soc.

Servs., 436 U.S. 658 (1978); Eades v. Thompson, 823 F.2d 1055, 1063 (7th Cir. 1987); Wolf-

Lillie v. Sonquist, 699 F.2d 864, 869 (7th Cir. 1983); Duncan v. Duckworth, 644 F.2d 653, 655-

56 (7th Cir. 1981). Thus, Defendant Baldwin shall be dismissed from this action without

prejudice.

       In addition, Plaintiff cannot maintain his suit against Defendant Illinois Department of

Corrections, because it is a state government agency. The Supreme Court has held that “neither

a State nor its officials acting in their official capacities are ‘persons’ under § 1983.” Will v.

Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). See also Wynn v. Southward, 251 F.3d 588,

592 (7th Cir. 2001) (Eleventh Amendment bars suits against states in federal court for money

damages); Billman v. Ind. Dep’t of Corr., 56 F.3d 785, 788 (7th Cir. 1995) (state Department of

Corrections is immune from suit by virtue of Eleventh Amendment); Hughes v. Joliet Corr. Ctr.,

931 F.2d 425, 427 (7th Cir. 1991) (same); Santiago v. Lane, 894 F.2d 219, 220 n. 3 (7th Cir.

1990) (same).

       Likewise, the Menard Correctional Center, which is a division of the Illinois Department

of Corrections, is not a “person” within the meaning of the Civil Rights Act, and is not subject to

a § 1983 suit. See Will, 491 U.S. at 71. For these reasons, Defendants Menard Correctional

Center and Illinois Department of Corrections are dismissed from this action with prejudice.




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                    Unknown Members of the Orange Crush Tactical Team

          One final note concerning identifying individual members of the Orange Crush Tactical

Team: these individuals must be identified with particularity before service of the complaint can

occur on them. Where a prisoner’s complaint states specific allegations describing the conduct of

unknown corrections officers sufficient to raise a constitutional claim against them, the prisoner

should have the opportunity to engage in limited discovery in order to ascertain the identity of

those defendants. Rodriguez v. Plymouth Ambulance Serv., 577 F.3d 816, 832 (7th Cir. 2009). In

this case, guidelines for discovery aimed at identifying the unknown parties will be set by the

magistrate judge. Once the unknown parties are identified, Plaintiff shall file a motion to

substitute the named individuals in their place.

                                        Pending Motions

          Because Plaintiff has been granted in forma pauperis status, his motion for service of

process at government expense (Doc. 3) is unnecessary and, therefore, DENIED AS MOOT.

          Plaintiff’s motion for recruitment of counsel (Doc. 4) remains PENDING and shall be

referred to United States Magistrate Judge Williams for a decision.

                                            Disposition

          IT IS HEREBY ORDERED that Plaintiff may proceed on COUNTS 1, 2, 3, and 5

against     Defendants   HARRINGTON,          BUTLER,      YURKOVICH,        and    UNKNOWN

MEMBERS OF THE ORANGE CRUSH TACTICAL TEAM.

          IT IS FURTHER ORDERED that COUNT 4 (the Prison Rape Elimination Act claim)

and COUNT 6 (the grievance claim) are DISMISSED WITH PREJUDICE.




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       IT IS FURTHER ORDERED that Defendants HILL, BALDWIN, ILLINOIS

DEPARTMENT OF CORRECTIONS, and MENARD CORRECTIONAL CENTER are

DISMISSED WITHOUT PREJUDICE from this action.

       IT IS FURTHER ORDERED that this case shall be CONSOLIDATED with Ross v.

Gossett, Case No. 15-cv-309-SMY-SCW for all further proceedings. Ross v. Gossett shall be the

lead case. All future pleadings shall be filed in Ross v. Gossett and contain case number 15-cv-

309-SMY-SCW. The Clerk of Court is DIRECTED to let the record in Ross v. Gossett reflect

this consolidation.

       The Clerk of Court shall prepare for Defendants HARRINGTON, BUTLER, and

YURKOVICH: (1) Form 5 (Notice of a Lawsuit and Request to Waive Service of a Summons),

and (2) Form 6 (Waiver of Service of Summons). The Clerk is DIRECTED to mail these forms,

a copy of the complaint, a copy of this Memorandum and Order, and a copy of the complaint in

Ross v. Gossett, Case No. 15-cv-309-SMY-SCW to each Defendant’s place of employment as

identified by Plaintiff. If a Defendant fails to sign and return the Waiver of Service of Summons

(Form 6) to the Clerk within 30 days from the date the forms were sent, the Clerk shall take

appropriate steps to effect formal service on that Defendant, and the Court will require that

Defendant to pay the full costs of formal service, to the extent authorized by the Federal Rules of

Civil Procedure.

       Service shall not be made on the UNKNOWN MEMBERS OF THE ORANGE

CRUSH TACTICAL TEAM until such time as Plaintiff has identified specific team members

by name in a properly filed motion for substitution. Plaintiff is ADVISED that it is Plaintiff’s

responsibility to provide the Court with the name and service address for these individuals.

       With respect to a Defendant who no longer can be found at the work address provided by



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Plaintiff, the employer shall furnish the Clerk with the Defendant’s current work address, or, if

not known, the Defendant’s last-known address. This information shall be used only for sending

the forms as directed above or for formally effecting service. Any documentation of the address

shall be retained only by the Clerk. Address information shall not be maintained in the court file

or disclosed by the Clerk.

       Plaintiff shall serve upon Defendants (or upon defense counsel once an appearance is

entered), a copy of every pleading or other document submitted for consideration by the Court.

Plaintiff shall include with the original paper to be filed a certificate stating the date on which a

true and correct copy of the document was served on Defendants or counsel. Any paper received

by a district judge or magistrate judge that has not been filed with the Clerk or that fails to

include a certificate of service will be disregarded by the Court.

       Defendants are ORDERED to timely file an appropriate responsive pleading to the

complaint in Ross v. Gossett, Case No. 15-cv-309-SMY-SCW and shall not waive filing a reply

pursuant to 42 U.S.C. § 1997e(g).

       Pursuant to Local Rule 72.1(a)(2), this action is REFERRED to United States Magistrate

Judge Williams for further pre-trial proceedings, which shall include a determination on

Plaintiff’s motion for recruitment of counsel (Doc. 4).

       Further, this entire matter shall be REFERRED to United States Magistrate Judge

Williams for disposition, pursuant to Local Rule 72.2(b)(2) and 28 U.S.C. § 636(c), if all parties

consent to such a referral.

       If judgment is rendered against Plaintiff, and the judgment includes the payment of costs

under § 1915, Plaintiff will be required to pay the full amount of the costs, notwithstanding that

his application to proceed in forma pauperis has been granted. See 28 U.S.C. § 1915(f)(2)(A).



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       Plaintiff is ADVISED that at the time application was made under 28 U.S.C. § 1915 for

leave to commence this civil action without being required to prepay fees and costs or give

security for the same, the applicant and his or her attorney were deemed to have entered into a

stipulation that the recovery, if any, secured in the action shall be paid to the Clerk of the Court,

who shall pay therefrom all unpaid costs taxed against plaintiff and remit the balance to plaintiff.

Local Rule 3.1(c)(1).

       Finally, Plaintiff is ADVISED that he is under a continuing obligation to keep the Clerk

of Court and each opposing party informed of any change in his address; the Court will not

independently investigate his whereabouts. This shall be done in writing and not later than 7

days after a transfer or other change in address occurs. Failure to comply with this order will

cause a delay in the transmission of court documents and may result in dismissal of this action

for want of prosecution. See FED. R. CIV. P. 41(b).

       IT IS SO ORDERED.

       DATED: May 12, 2016

                                                      s/ STACI M. YANDLE

                                                      United States District Judge




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